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  Kina Y. Watson


  Mobile phone:                 ~mail:

  October 17, 2022
· .To: The Honorable Janis Graham Jack
   U.S. District Court for the Southern District of Texas
   U.S .. Courthouse
  11135 N. Shoreline Blvd.

   Corpus Christi, TX 78401

 RE: Foster Care Home Placement
  Dear Judge Jack:
 ·1 am a newly excited licensed single Foster Care P!ll"ent with Circle of Living Hope Agency (COLH). It has
 been my long goal of mine to foster a teenager in high· school. I initiated the process with DePelchin Children
 Center; however, that agency required single or unmarried applicants to have a "surrogate spouse" who would
 share full responsibility and an emergency backup person. Since I am unmarried, I could not fulfill the
 requirement.

   I want to foster an older African American teen in high school. " Once Black children enter foster care in
  Texas, they are somewhat more likely than other children to have experiences that are associated with worse
   outcomes. Black children stay in Texas foster care ·two months longer than White children, on average. In Texas
   fost~r care,. 68 percent of older Black youth have three or more placements - meaning more instability -
 ' compared to 63 percent of older White youth"(Mmphy, 2020). I would like her to live in a safe and stable
 .environment while completing high school and/or secondary education. It is not easy to place older kids, which
  ·should not be. Teens still need nmturing, security, kindness, directions, and love. I want to prepare her for
   young adulthood by helping her establish goals and reiterating hope for a bright future. I prefer a Basic Level
   teen because this would be my first placement; however, I am thoughtfully open to Moderate Level. After
   several impassionat_e conversations, COLH amended the licensme to reflect what I documented on the
   application.
 I've been following the news for Texas Foster Care System for a few years, and I watched "Children without
 Placement" on NBC this past weekend. I have to ask, are there other Texas-licensed foster parents like me
 waiting and wanting to help? Are the children's placement needs published in real time? I have nursing
 experience in pediatrics and a master's degree in Public Health. I understand how socioeconomic status affects
 children's lives. But most of all, I know every child longs to be wanted and deserves a good and safe home.
  Sincerely,
 Kina Y. Watson
 .1t~~y.!J~
  Cc: The Honorable Aurora Martinez Jones
      The Honorable Jaime Masters Commissioner
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                                               REFERENCE

Murphy, K. (2020, October 21). Racial justice requires improvements to the Texas CPS System. Retrieved
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